     Case 5:21-cv-01068-RSWL-KS Document 17 Filed 02/02/22 Page 1 of 1 Page ID #:72




 1                                                                              JS-6
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
       MANUAL HERRERA,                   ) NO. EDCV 21-1068 RSWL (KS)
11                                       )
                       Petitioner,
12                                       )
               v.                        ) JUDGMENT
13                                       )
14     T. JUSINO, Warden,                )
                                         )
15                     Respondent.       )
16     _________________________________ )
17
18           Pursuant to the Court’s Order Accepting Findings and Recommendations of United
19     States Magistrate Judge, IT IS ADJUDGED that this action is dismissed without prejudice.
20
21     DATED: February 2, 2022                      _____/S/ RONALD S.W. LEW__________
22                                                             RONALD S.W. LEW
                                                        UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28
